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         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK
         ----------------------------------------------------x
         JACOB SCHONBERG, BINYOMIN SCHONBERG, BINYOMIN        :      Case No: 17-cv-2161
         HALPERN AND RAPHAEL BAROUCH ELKAIM, et al,           :     (CBA)(RML)
                                                              :
                                Plaintiffs,                   :
                                                              :
                                 -against-                    :
                                                              :
         YECHEZKEL STRULOVICH a/k/a CHASKIEL STRULOVITCH,     :
         YECHIEL OBERLANDER a/k/a MICI OBERLANDER a/k/a MIHAY :
         OBERLANDER, et al                                    :
                                                              :
                                Defendants.                   :

         ----------------------------------------------------X

             MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                     MOTION FOR LEAVE TO AMEND




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           Defendants Yechezkel Strulovich, CSRE LLC, CS Construction Group LLC, Good

   Living Management LLC, 908 Bergen Street LLC, 901 Bushwick Avenue LLC, Gates Equity

   Holdings LLC, 1078 Dekalb LLC, 74 Van Buren LLC, 762 Willoughby LLC, 454 Central

   Avenue LLC, 855 Dekalb Avenue LLC, 720 Livonia Development LLC, 853 Lexington LLC,

   980 Atlantic Holdings LLC, 945 Park Pl LLC, 1301 Putnam LLC, 348 St. Nicholas LLC, CSY

   Holdings LLC, APC Holding 1 LLC, 53 Stanhope LLC, The Howard Day House LLC, 55

   Stanhope LLC, 599-601 Willoughby LLC, 1217 Bedford LLC, 1266 Pacific LLC, 167 Hart

   LLC, 741 Lexington LLC, and 296 Cooper LLC respectfully submit this memorandum of law in

   opposition to Plaintiffs’ Motion for Leave to File a Third Amended Complaint (the “Motion to

   Amend”).1

                                     PRELIMINARY STATEMENT

           By their Motion to Amend, Plaintiffs attempt to sneak in the back door to Federal Court

   years after this Court issued an order in November 2017 (the “Order”): (i) compelling arbitration

   with respect to the claims of the Plaintiffs who signed arbitration agreements; (ii) dismissing the

   non-signatory plaintiffs’ securities fraud claim pursuant to FRCP 12(b)(6); and (iii) dismissing

   the non-signatory plaintiffs’ common law claims, without prejudice to refiling in State Court.

   The Motion to Amend should be denied because Plaintiffs come before this Court in bad faith,

   have engaged in undue delay, and assert arbitrable and non-viable claims.

           The Plaintiffs come before this Court with their Motion to Amend in bad faith. Indeed,

   despite Defendants’ best efforts to move the ball forward with respect to arbitration, as directed

   by this Court, Plaintiffs intentionally made that impossible by: (i) ignoring communications from

   the arbitrator who was appointed in connection with the arbitration agreement; (ii) attempting to


   1
    The undersigned law firm also represents 73 Empire Development LLC, 325 Franklin LLC, 618 Lafayette LLC,
   106 Kingston LLC, 1213 Jefferson LLC, 657-665 5th Avenue LLC, and Willoughby Estates LLC. These entities are
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   force non-litigants in this action to participate in arbitration; (iii) attempting to force a rabbinical

   panel to enforce the Federal Rules of Civil Procedure; and (iv) ignoring communications from

   Defendants as recently as October 2019 in which Defendants reiterated their willingness to

   arbitrate as directed by this Court.         It is now clear that since April 2018, Plaintiffs have

   deliberately sabotaged arbitration by retaining a new law firm – who they are presently suing

   to avoid arbitration of a legal fee dispute – to “deal with” the direction from this Court to

   arbitrate and putting Plaintiffs “in position” to file a new Complaint. In so doing, Plaintiffs

   violated the covenant of good faith and fair dealing implied into the arbitration agreements, and

   deliberately violated the Order. Therefore, the Plaintiffs come before this Court in bad faith and

   the Motion to Amend should be denied on that ground alone.

           Moreover, any claims brought by the LLC Plaintiffs, Derivative Plaintiffs and Individual

   Plaintiffs who signed the arbitration agreements are arbitrable. Plaintiffs attempt to plead around

   the Order by asserting that their claims arise from investments that occurred before the Holding

   Company Agreements were circulated.              However, the “Second Circuit generally presumes

   retroactive application of broad arbitration provisions absent explicit temporal limitations.”

   Moreover, Plaintiffs cannot avoid arbitration by asserting claims only against the Individual

   Defendants. Indeed, Second Circuit law is clear that the benefit of arbitration agreements

   extends to individual agents of the party to the arbitration clause because to hold otherwise

   would subvert the federal policy favoring arbitration.

           Furthermore, the proposed amended claims are futile as they will be dismissed on a

   FRCP 12(b)(6) motion. The Individual Plaintiffs’ amended securities fraud claim is “for the

   purchase of a direct interest in the membership interests of the LLC Plaintiffs.” A membership

   interest in the LLC Plaintiffs, in which the Individual Plaintiffs have managerial authority (in


   not named in the Proposed Third Amended Complaint because they are currently in bankruptcy.

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   addition to Strulovitch), is not a security. Moreover, the securities fraud claims are dressed up

   common law claims. Indeed, the alleged misrepresentations and omissions are “merely restated

   legal duties already owed” which are not actionable under § 10(b). Accordingly, the securities

   fraud claims would not survive a motion to dismiss.

          Likewise, Plaintiffs should not be permitted to amend their complaint to allege Federal

   RICO violations, where the claims arise from a routine commercial dispute. For starters, the

   RICO claims are time barred since Plaintiffs failed to file their original complaint within four

   years of being on inquiry notice of the alleged fraudulent misrepresentations and omissions.

   Additionally, Plaintiffs did not and cannot allege a viable RICO enterprise. All Plaintiffs have

   alleged is the existence of a series of independent frauds.       There are no non-conclusory

   allegations that there was a “continuing unit” working together to defraud Plaintiffs. Nor are

   there any allegations of a continuing unit that exists separate and apart from the alleged

   racketeering activity.   Moreover, Plaintiffs fail to meet the heightened pleading standards

   required to properly assert the predicate acts under RICO. While the Plaintiffs seek the recovery

   of $30,000,000 for the alleged RICO violations, Plaintiffs fail to allege how much each

   Individual Plaintiff invested and when they invested that money. That is critical because the

   only non-arbitrable RICO claims are those brought by the non-signatory Individual Plaintiffs.

   Accordingly, the RICO claims would not survive a motion to dismiss.

          Thus, because there is no federal question jurisdiction, the Court should continue to

   decline to exercise supplemental jurisdiction with respect to the amended common law claims

   and should also dismiss this action. Thus, the Motion to Amend should be denied in its entirety.




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                                                    BACKGROUND

           The relevant background is drawn from the proposed Third Amended Complaint

   (“TAC”), the Court’s Memorandum and Order, dated November 1, 2017 (the previously defined

   “Order”), the Declaration of Binyomin Halpern, dated February 6, 2019 (“Halpern Decl.”), the

   Declaration of Mendel Brach, dated February 20, 2019 (“Brach Decl.”), the Declaration of Rabbi

   Ahron Bentzion Mandel, dated February 20, 2019 (“Bentzion Decl.”), and the Declaration of

   Scott C. Ross, dated January 27, 2020 (“Ross Decl.”) The Order is attached as Exhibit 1 to the

   Brach Decl.

    1. The Investments In The Schedule A Properties

           Strulovitch and Oberlander, the Individual Defendants, allegedly persuaded 180 investors

   to invest in twenty-two separate properties (the “Schedule A Properties”). Order at 4. The

   Schedule A Properties are owned by the Holding Companies, some of which are now Derivative

   Plaintiffs in the TAC. Order at 3.2 To arrive at their interests in the Holding Companies, the

   Individual Plaintiffs – who comprise 38/180 investors3 – first received interests in the twenty-

   two LLC Plaintiffs,4 which then received a 45% percent interest in one of the Holding

   Companies, through the Holding Company Agreements. Order at 5. Defendant CSRE owns

   55% percent of each of the Holding Companies. Order at 5. Strulovitch is the manager of the

   LLC Plaintiffs, CSRE, and the Holding Companies. Order at 5.




             2
               The Holding Companies are identified in ¶ 33 of the TAC. All of them, with the exception of 73 Empire
   Development, LLC, 325 Franklin LLC, 618 Lafayette LLC, 106 Kingston LLC, 1213 Jefferson LLC, 657-665 5th
   Avenue LLC, and Willoughby Estates LLC are now derivative plaintiffs and nominal defendants in this action. Not
   all of the Holding Companies are parties to this action due to certain bankruptcy actions.

           3
               It was 47 in the SAC.

           4
               The LLC Plaintiffs are identified in ¶ 28 of the TAC.




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           The Individual Plaintiffs allegedly made investments based on prospectuses provided to

   them between February 2012 and September 2014. Order at 7. The Individual Defendants

   allegedly diverted the investment funds to purchase and develop the Schedule B Properties.

   Order at 8. Plaintiffs now contend that “[s]ome of the funds were diverted before they even

   reached LLC Plaintiffs’ accounts….” Motion to Amend at 4 (citing Halpern Decl. ¶ 18).

    2. The Holding Company Agreements

           The Holding Company Agreements are signed by Strulovitch on behalf of CSRE, the

   LLC Plaintiffs, and the Holding Company Defendants. Order at 5.5 Certain of the Individual

   Plaintiffs also signed the Holding Company Agreements. Order at 5-6; see also Brach Decl. Ex.

   5 at 3-4 for a list of the signatory Individual Plaintiffs.

           The Holding Company Agreements contain arbitration provisions that state:

                   In case of any doubt, question or other disagreement among the
                   parties to this agreement about anything pertaining to this
                   Agreement, all of the parties to the disagreement shall choose a
                   third party that is acceptable to all of them as Arbitrator (the
                   “Arbitrator”) and ask for his ruling on point, and his ruling shall be
                   accepted by all the parties to the disagreement. If, however, the
                   parties do not reach agreement within forty-five (45) days as to
                   who is to be the Arbitrator, then HaRav Avrohom Baruch
                   Rosenberg of Monsey, New York shall choose the arbitrator for
                   the parties and that Arbitrator’s ruling shall be binding on all the
                   parties. In any case, however, all the parties to this agreement
                   agree not to bring any matter relating to this Agreement to a
                   secular court for resolution unless instructed to do so by the
                   Arbitrator or to enforce the Arbitrator’s ruling.

   Order at 6; see also e.g. Brach Decl. Ex. 2, § 13.d.




           5
             The Holding Company Agreements can be found in the record at D.E. 198. One sample is attached to
   these papers. See Brach Decl. Ex. 2.


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    3. By The Order, The Court Compelled The LLC Plaintiffs And Signatory Individual
       Plaintiffs To Arbitration, Dismissed The Non-Signatory Individual Plaintiffs’ Federal
       Securities Fraud Claim, And Declined To Exercise Supplemental Jurisdiction

          In the SAC, all Plaintiffs – the Individual Plaintiffs and LLC Plaintiffs – asserted federal

   securities fraud claims against the Individual Defendants. Order at 9, 38 n.14. Plaintiffs also

   asserted claims for breach of fiduciary duty against the Individual Defendants and CSRE,

   amongst other common law claims. Order at 9.

          With respect to the motion to compel arbitration, the Court held as follows:

                  the LLC Plaintiffs and the Individual Plaintiffs who signed a
                  Holding Company Agreement must arbitrate their claims with
                  respect to the Holding Company Agreement they signed. Having
                  found that the Individual Plaintiffs who did not sign the Holding
                  Company Agreements are not bound to litigate their claims before
                  the arbitrator, and that plaintiffs need not arbitrate against the
                  Schedule B Defendants and the other Strulovich-controlled
                  entities, this Court will consider defendants’ grounds for dismissal
                  only as to the remaining claims not referred to arbitration. Order at
                  36.

          With respect to the motion to dismiss, the Court recognized that the LLC Plaintiffs, not

   the Individual Plaintiffs, were the “actual purchaser of the securities at issue” (Order at 40 n.16),

   and, as a result, the non-signatory Individual Plaintiffs’ securities fraud claim was dismissed

   pursuant to FRCP 12(b)(6) (without specifying whether dismissal was with or without

   prejudice). Order at 36-40. The Court declined to exercise supplemental jurisdiction over the

   remaining state law claims filed by the non-signatory Individual Plaintiffs and dismissed them

   “without prejudice for refiling in state court.” Id. at 42. No Plaintiff filed any related claims in

   State Court. Brach Decl. ¶ 6.

    4. Arbitration Is Deliberately Blocked By The Cunning Efforts Of Plaintiffs

          In accordance with the Order and Holding Company Agreements, on November 9, 2017,

   Defendants sent a letter to Darren Oved, former counsel for Plaintiffs, giving notice that pursuant



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   to the Holding Company Agreements, Defendants identified Rabbi Zalmen Grauz as their chosen

   arbitrator for the claims referred to arbitration. Defendants further advised, in accordance with

   the Holding Company Agreements, that if they cannot reach agreement on an arbitrator within

   45 days “then HaRav Avrohom Baruch Rosenberg of Monsey, New York shall choose the

   arbitrator for the parties.” Brach Decl. ¶ 8, Ex. 3.

            Thereafter, the parties began negotiating selection of an arbitrator and arbitration rules

   “for a determination of all claims, including those not subject to the arbitration provisions.” See

   Halpern Decl. ¶ 3 (i.e., a global arbitration).6 Notably, nothing in the Holding Company

   Agreements require the negotiation of arbitration rules, which makes sense since arbitrators

   typically provide the rules.

            During the period of negotiation, Defendants gave Plaintiffs multiple extensions to

   respond to the November 9 letter. Brach Decl. ¶ 9. In December 2017, Plaintiffs and Defendants

   agreed on the appointment of the Honorable David Schmidt as arbitrator for a global arbitration.

   Brach Decl. ¶ 10. However, shortly thereafter, the parties learned that Judge Schmidt was ill and

   would not be able to preside. Brach Decl. ¶ 10.

            Thereafter, Plaintiffs engaged in a series of opportunistic maneuvers designed to

   purportedly put them in position to re-file a complaint in Federal Court.

                     a. Step 1 - In April 2018, Plaintiffs Hired New Counsel To Initiate Their Plan
                        To Sneak In The Backdoor To Federal Court

            In April 2018, Plaintiffs retained the law firm Wilson Sonsini Goodrich and Rosati, P.C.

   (“WSGR”), “in connection with a dispute over investments made with Yechezkel Strulovitch




            6
              Global, when used herein, refers not just to the claims and the parties referred to arbitration, but also the
   individual plaintiffs who did not sign arbitration agreements, the Schedule B Defendants, and other entities allegedly
   controlled by Strulovitch.




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   and his companies.” Ross Decl. Ex. 3 (the “WSGR Engagement Agreement”).7 The WSGR

   Engagement Agreement provides for a $100,000 initial retainer and:

                    this Initial Retainer will be used to cover fees and costs incurred by
                    WSGR for approximately the first month of engagement prior to
                    the filing of any lawsuit. During this first stage of the
                    engagement, WSGR will assess the various factual and legal issues
                    relevant to this Dispute and make recommendations to Clients
                    concerning the viability of a potential lawsuit and the appropriate
                    forum for any lawsuit… If, after receiving such legal advice, it is
                    agreed between [Plaintiffs] and WSGR that WSGR will file a
                    lawsuit on [Plaintiffs’] behalves, a Permanent Retainer in the
                    amount of $250,000 (minus any unused portion of the Initial
                    Retainer) shall be due and payable before any lawsuit is filed.
                    Said Permanent Retainer shall be increased to $350,000 should
                    any litigation proceed to discovery and increased to $750,000
                    should any litigation proceed to trial…

   Id., Ex. 3 at 3 (emphasis added). The WSGR Engagement Agreement is silent on arbitrating the

   dispute with Strulovitch as ordered by this Court, and rather has specific success payments if,

   after Plaintiffs file a new lawsuit, Plaintiffs “proceed to discovery” and “proceed to trial.”

           Notably, at the initial meeting between Plaintiffs and WSGR, which took place on April

   25, 2018, Plaintiffs and WSGR “spen[t] many hours discussing an arbitration provision invoked

   by a federal court against [Plaintiffs] and how to deal with the arbitration provision in any further

   litigation.” Ross Decl. Ex. 4 at ¶ 8; see also id. ¶ 11 (Plaintiffs noting that they had just spent

   “many hours discussing how to address a different arbitration provision that had caused much

   trouble for [Plaintiffs] in a federal action”).

           The way “to deal with the arbitration provision” was not to comply with the Court’s

   Order and proceed to arbitration; rather, according to a June 25, 2018 publicly filed email, the




           7
            The WSGR Engagement Agreement is effective “retroactive to the date WSGR first performed services.”
   Ross Decl. Ex. 3, § 19. Per the WSGR Petition (defined below), Plaintiffs first met with WSGR on April 25, 2018.
   Ross Decl. Ex. 4, ¶ 7.


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   Plaintiffs, through WSGR, planned to “file a complaint, which we expect to be in a position to do

   in next few weeks.” Ross Decl. Ex. 5.

                    b. Step 2 – Ignore Communications From The Appointed Arbitrator

           After nearly six months of negotiating, and multiple extensions given to respond to the

   November 9, 2017 letter, and with the parties at an impasse with respect to terms for a global

   arbitration, on April 23, 2018, Plaintiffs’ counsel sent a:

                    formal response to [Herrick, Feinstein’s] November 9, 2017 Letter
                    to our firm (to the extent a formal response is necessary). As we
                    have stated many times, Rabbi Zalmen Grauz, the individual your
                    clients proposed in your Letter, is not acceptable to our clients as
                    an arbitrator of the claims enumerated in Judge Amon’s Order.

   Brach Decl. ¶ 11, Ex. 4.

           Thus, on April 26, 2018, Defendants wrote to Rabbi Rosenberg “request[ing] that

   pursuant to the [Holding Company Agreements], you appoint an Arbitrator to hear the dispute

   between the parties identified on pages 3-4 of this letter.” Brach Decl. ¶ 12, Ex. 5.8 Thereafter,

   Rabbi Ahron Bentzion Mandel, Defendants’ Toen, spoke directly with Rabbi Rosenberg, who

   stated that he would appoint himself as Arbitrator if Plaintiffs and Defendants would agree to it.

   Mandel Decl. ¶ 2.          Rabbi Rosenberg also informed Rabbi Mandel that he had informed

   Plaintiffs’ counsel, Darren Oved, of the same. Mandel Decl. ¶ 2.

           On May 11, 2018, Defendants’ counsel followed up by email with Rabbi Rosenberg, with

   a copy to Plaintiffs’ counsel, informing him that “if our adversaries would agree to it, we would

   agree to you serving as the arbitrator.” Brach Decl. Ex. 6.9 Plaintiffs did not respond to Rabbi


           8
             The parties identified on the letter are only those parties whose claims who were compelled to arbitration
   by the Court.
            9
              The first sentence of Defendants’ counsel’s email to Rabbi Rosenberg states: “I am writing to follow up
   on the below email and letter as we have not yet heard from you.” Herrick, Feinstein LLP, Defendants’ counsel, had
   not heard from Rabbi Rosenberg. Clearly, as established by the declaration of Rabbi Mandel, Rabbi Mandel had
   spoken directly to Rabbi Rosenberg and so had Plaintiffs’ counsel Darren Oved.


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   Rosenberg, leading Defendants to reasonably conclude that Plaintiffs had abandoned their

   claims. Brach. Decl. ¶ 15.

                  c. Step 3 – Plaintiffs Attempt To Manufacture A Record So As To Convince
                     The Court That Arbitration Failed

          In August 2018, Plaintiffs attempted to manufacture a record so as to eventually convince

   the Court that arbitration failed. It started when Mr. Halpern, the apparent “lead” plaintiff,

   contacted a representative of Defendants and proposed that a Beth Din of three rabbinical

   arbitrators – the identity of whom Plaintiffs and Defendants agreed – conduct a global

   arbitration. Brach. Decl. ¶ 16. Defendants signed an arbitration agreement prepared by the

   Rabbinical panel (after certain revisions to the form agreement were agreed upon). Brach Decl.

   ¶¶ 16-19. Ex. 9.

          However, on September 5, 2018, Mr. Halpern sent Defendants’ representative an email

   giving him “2 attachments [that] are 2 options” for a global arbitration. Brach Decl. ¶ 21, Ex.

   10. The proposals circulated by Plaintiffs name individuals who were not even parties in the

   subject litigation and for whom Defendants cannot even speak, and purport to require the

   rabbinical panel to abide by the Federal Rules of Civil Procedure, in violation of Jewish law.

   Brach Decl. ¶ 22. Naturally, Defendants were forced to reject the “proposals.” Brach Decl. ¶ 23.

                  d. Step 4 - File A Pre-Motion To Amend, Claiming That Arbitration Failed

          With the self-serving record created, Plaintiffs represented to the Court that “[s]ince the

   parties once again could not agree on an arbitrator and arbitration rules to determine all claims,”

   they wished to amend their complaint to “proceed with the litigation of their viable, non-

   arbitrable claims.” D.E. 267. On January 22, 2019, the Court issued a scheduling order:

                  The Court does not see a need to have a pre-motion conference at
                  this time. In November 2017, the Court granted defendants' motion
                  to compel arbitration for the majority of plaintiffs' claims and
                  dismissed the claims not referred to arbitration. Plaintiffs are


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                     directed to provide the Court with briefing, not to exceed 15 pages,
                     as to why they should be granted permission to amend the Second
                     Amended Complaint

    Plaintiffs then bizarrely filed a “pre-motion brief” in support of their motion for leave to amend

    the SAC, without attaching a proposed amended pleading (the “Pre-Motion”).

                     e. Step 5 - Ignore Defendants’ Communications

              On October 16, 2019, while the Pre-Motion was pending, Defendants again sent a letter

    to counsel for Plaintiffs indicating that the “Defendants directed to arbitrate remain ready,

    willing and able to participate in an arbitration. We again seek your client’s cooperation with

    the same.” Ross Decl. Ex. 1; see also id. Ex. 2 (transmittal email). At the end of this letter, the

    “Defendants directed to arbitrate suggest that the Plaintiffs directed to arbitrate jointly write a

    letter to Rabbi Rosenberg, substantially in the form annexed hereto as Exhibit 6, notifying him

    that the parties compelled to arbitrate agree that Rabbi Rosenberg should either appoint himself

    or some other third party to arbitrate this dispute.” Id. Plaintiffs did not respond to this

    letter.

    5. Decision on the Pre-Motion To Amend

              On November 26, 2019, oral argument was held on the Pre-Motion, after which the Court

   ordered Plaintiffs to submit a proposed amended complaint and rescheduled oral argument for

   February 25, 2020.

    6. Plaintiffs’ History Of Arbitration Phobia

              This lawsuit is not the only case in which the Plaintiffs have desperately tried to avoid

   signed agreements requiring them to arbitrate disputes.

              Section 15 of the WSGR Engagement Agreement requires resolution of “all disputes or

   claims between us … by binding arbitration before the American Arbitration Association or

   JAMS in the County of New York.” Ross Decl. Ex. 3, ¶ 15. A dispute concerning legal fees


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   arose between Plaintiffs and WSGR, and, in March 2019, a Demand for Arbitration was served

   on Plaintiffs by WSGR. Ross Decl. Ex. 4, ¶ 1.

          Did arbitration follow? Of course not. Plaintiffs filed a petition to permanently stay

   arbitration because they were allegedly “fraudulently induced … to enter into the Engagement

   Agreement, including specifically with respect to the Engagement Agreement’s arbitration

   provision.” Ross Decl. Ex. 4, ¶ 4. Sound familiar? Plaintiffs made the same argument in their

   opposition to Defendants’ Motion to Dismiss the SAC. See D.E. 205, at 27-29.

                                               ARGUMENT

    1. Plaintiffs Come Before This Court In Bad Faith And, As A Result, Should Not Be
       Permitted To File A Third Amended Complaint

          Plaintiffs come before this Court in bad faith and, as a result, should not be permitted to

   file a third amended complaint. Plaintiffs are solely responsible for arbitration not happening.

   Plaintiffs’ retention of WSGR at the same time Rabbi Rosenberg appointed himself as arbitrator,

   in accordance with the Holding Company Agreements, makes that clear. Indeed, at the late April

   2018 meeting with WSGR, Plaintiffs discussed how to “deal with” the requirement to arbitrate

   for “many hours.” Ross Decl. Ex. 4, ¶¶ 8, 11. Plaintiffs and WSGR then concocted a plan to put

   them in a “position” to file a new Complaint. Ross Decl. Ex. 5.

          That plan included: (i) ignoring communications from Rabbi Rosenberg; (ii) creating a

   self-serving record of Plaintiffs’ insincere efforts to arbitrate, including requiring: (a) non-parties

   to this lawsuit, for whom Defendants’ do not speak, to participate in the arbitration and (b)

   requiring a rabbinical panel to abide by the Federal Rules of Civil Procedure – Brach Decl. ¶¶

   16-23, Ex. 10; and (iii) misrepresenting to this Court that arbitration failed because the parties

   “could not agree on an arbitrator and arbitration rules to determine all claims.” D.E. 267.




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          Contrary to Plaintiffs’ misrepresentations, an arbitrator was properly appointed three

   separate times. First, Arbitrator Schmidt, who unfortunately passed away. Second, Rabbi

   Rosenberg who, in April 2018, appointed himself in accordance with the Holding Company

   Agreements, and who Plaintiffs deliberately ignored. Third, in August 2018, the three-person

   Rabbinical Panel.

          Furthermore, there is no requirement in the Holding Company Agreements that Plaintiffs

   and Defendants agree upon the rules for arbitration. The Rabbinical Panel circulated arbitration

   agreements in accordance with Jewish law (with agreed-upon revisions approved by the panel).

   Brach Decl. ¶¶ 16-20. Defendants signed and returned it to the panel. Brach Decl. ¶ 19, Ex. 9.

   Plaintiffs instead circulated “2 attachments [that] are 2 options” for a global arbitration. Brach

   Decl. Ex. 10. Plaintiffs contend that these “two proposed version of arbitration agreements

   [were] more befitting [of a] rabbinical arbitration panel.” Motion to Amend at 7. Plaintiffs fail

   to explain how complex English-language arbitration agreements prepared by Plaintiffs, which

   incorporate the Federal Rules of Civil Procedure and broad discovery devices, is more befitting

   of a rabbinical arbitration panel than Hebrew arbitration agreements prepared by the agreed-upon

   rabbinical panel. Compare Brach Decl. ¶¶ 21-23, Exs. 7-9. Plaintiffs cannot force the Federal

   Rules of Civil Procedure on a Rabbinical Panel or Defendants. If the “rules” could not be agreed

   upon, then it was up to the Rabbinical Panel to supply the rules.

          Finally, if the parties could not agree on arbitration to “determine all claims” then, at a

   minimum, the claims referred to arbitration by the Order were still required to be arbitrated

   before Rabbi Rosenberg. By failing to respond to Rabbi Rosenberg, arbitration could not go

   forward, thereby depriving Defendants of the fruits of the Holding Company Agreements, in

   violation of the covenant of good faith and fair dealing. See 511 W. 232nd Owners Corp. v.




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   Jennifer Realty Co., 98 N.Y.2d 144, 153, 746 N.Y.S.2d 131, 135 (2002) (“This covenant

   embraces a pledge that ‘neither party shall do anything which will have the effect of destroying

   or injuring the right of the other party to receive the fruits of the contract.’”) (Citation omitted).

           Defendants remain ready, willing, and able to arbitrate in accordance with the Holding

   Company Agreements and the Order. But it takes two to tango. As recently as October 2019,

   Plaintiffs ignored correspondence from Defendants in which Defendants reiterated their

   willingness to arbitrate in accordance with the Order. Ross Decl. Exs. 1-2. Through the above

   machinations and acts of subterfuge – which is further evidenced by the fact that not a single

   non-signatory Individual Plaintiff filed an action against Defendants in State Court – Plaintiffs

   are attempting to sneak through the back door of Federal Court more than two years after the

   Court issued the Order.

           Because there has been undue delay in seeking leave to amend, in addition to bad faith on

   Plaintiffs’ part, the Motion to Amend should be denied. See, e.g., State of N.Y. v. Cedar Park

   Concrete Corp., 741 F. Supp. 494, 496-97 (S.D.N.Y. 1990) (denying motion to amend damage

   claim “on behalf of state subdivisions a full two years after this Court dismissed the damages

   claim asserted by plaintiffs….”); id. (noting that “leave to amend may be denied where there has

   been undue delay, the movant has acted in bad faith or with a dilatory motive, the opposing party

   would be unduly prejudiced, or the amendment would be futile”) (citing Foman v. Davis, 371

   U.S. 178, 182 (1962)); NAS Elecs., Inc. v. Transtech Elecs. PTE Ltd., 262 F. Supp. 2d 134, 151

   (S.D.N.Y. 2003) (delay of “nearly two years” before the plaintiffs sought leave to file an

   amended complaint was “sufficient to constitute prejudice so as to deny [the] motion to amend,

   even under the Rule 15(a) liberal ‘freely given’ standard”) (citations omitted).




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    2. The Motion To Amend Should Be Denied Because It Is Based On Changed Legal
       Theories That Could Have Been Raised At The Time The Original Complaint, First
       Amended Complaint, And Second Amended Complaint Were Filed

          More than two years after the securities fraud claim was dismissed, Plaintiffs are

   changing legal theories based on old facts. Indeed, they admit as much. Motion to Amend at 11.

   This is not a basis to grant leave to amend. See Wrenn v. N.Y. City Health & Hosps. Corp., 104

   F.R.D. 553, 559 (S.D.N.Y. 1985) (denying leave to amend where proposed amendment “asserts

   new theories only and was not offered because any new facts came to plaintiff's attention”);

   Church of Scientology v. Siegelman, 94 F.R.D. 735, 739 (S.D.N.Y. 1982) (denying motion to

   amend where only justification for three-year delay was counsel’s overlooking legal theory);

   Sanders v. Thrall Car Mfg. Co., 582 F. Supp. 945, 953 (S.D.N.Y. 1983) (noting that “the

   liberality with which a court grants leave to amend does not impart to litigants the privilege of

   re-shaping their legal theories endlessly, even where there is no evidence of improper motive or

   dilatory objectives.”), aff'd, 730 F.2d 910 (2d Cir. 1984); Church of Scientology Int'l v. Time

   Warner, Inc., No. 92 Civ. 3024(PKL), 1998 WL 575194, at *2 (S.D.N.Y. Sept. 9, 1998)

   (denying Plaintiff's request to amend the Complaint after a new attorney identified a new legal

   theory), aff'd sub nom., Church of Scientology Int'l v. Behar, 238 F.3d. 168 (2d Cir. 2001); Berns

   v. EMI Pub., Inc., No. 95 Civ. 8130(KTD), 1999 WL 1029711, at *5 (S.D.N.Y. Nov. 12, 1999)

   (“Moreover, a change in counsel, or the dissatisfaction with the manner in which previous

   counsel pleaded claims, as Plaintiffs suggest is the reason for their delay, cannot excuse undue

   delay in moving to amend.”).

          The TAC asserts an abundance of new legal theories based on the singular “new”

   allegation that “[s]ome of the funds were diverted before they even reached LLC Plaintiffs’

   accounts…..” Motion to Amend at 4 (citing Halpern Decl. ¶ 18). That self-serving “fact” was

   certainly within the scope of knowledge of the Plaintiffs at the time they filed their first three


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   complaints. Indeed, there has been no discovery in this action (or any other action). That is

   another basis for denial of the Motion to Amend. See Phaneuf v. Tenneco, Inc., 938 F. Supp.

   112, 116 (N.D.N.Y. 1996) (finding that moving party failed to provide convincing reason for

   delay where “nothing new has come to light in between the time that the original complaint was

   filed and the time the motion to amend was made” and movant’s “attorney had all the

   information that was needed to bring a [particular] cause of action ... in the original complaint or

   within a reasonable time thereafter”); Chiacchia v. Schitkedanz, No. 111CV00837-MAT-HKS,

   2016 WL 3024167, at *3 (W.D.N.Y. May 25, 2016) (denying motion to amend where “the

   allegations set forth in the Amended Complaint are based on Chiacchia’s personal knowledge of

   past dealings with the individual defendants, and thus these allegations could have been made at

   the time of filing the original Complaint or within a reasonable time thereafter.”); Turkenitz v.

   Metromotion, Inc., No. 97CIV.2513(AJP)(JGK), 1997 WL 773713, at *9 (S.D.N.Y. Dec. 12,

   1997) (“However, the Court may deny a motion to amend when the movant knew or should have

   known of the facts upon which the amendment is based when the original pleading was filed.”).

    3. The Securities Fraud Claim Was Dismissed Pursuant to FRCP 12(b)(6), And Cannot
       Be Amended

            By the Order, the Court dismissed the common law claims “without prejudice to refile in

   state court” but the securities fraud claim was dismissed pursuant to FRCP 12(b)(6), and thus

   with prejudice. See VanBrocklen v. Dep't of Homeland Sec., No. 1:12–CV–003 (GTS/ATB),

   2012 WL 2873373, at *3 (N.D.N.Y. July 12, 2012); Winters v. Alza Corp., 690 F. Supp. 2d 350,

   357 (S.D.N.Y. 2010) (“A dismissal pursuant to Rule 12(b)(6) is, of course, a dismissal with

   prejudice.”).   As such, the “plaintiff will not be able to file another amended complaint.”

   Arutyunyan v. Fields, No. 17-CV-5009 (AMD), 2018 WL 3966239, at *4 (E.D.N.Y. Aug. 17,

   2018).



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    4. The Motion To Amend Must Be Denied Because The Claims Are Arbitrable

          The arbitration clause in the Holding Company Agreements is broad, requiring arbitration

   of any “disagreement” “pertaining to” the Holding Company Agreements. “Where, as here, ‘the

   contract’s arbitration clause is a broad one, ‘the strong presumption in favor of arbitrability

   applies with even greater force.’” Boule v. Credit One Bank, No. 15-CV-8562(RJS), 2016 WL

   3015251, at *4 (S.D.N.Y. May 11, 2016) (Citation omitted). “Even if there were ambiguity as to

   the scope of the claims that fall within the Arbitration Provision, ‘the Supreme Court has

   instructed that any doubts concerning the scope of arbitrable issues should be resolved in favor

   of arbitration....’” Arrigo v. Blue Fish Commodities, Inc., 704 F. Supp. 2d 299, 303 (S.D.N.Y.

   2010), aff'd, 408 F. App'x 480 (2d Cir. 2011). As such, courts “will compel arbitration unless it

   may be said with positive assurance that the arbitration clause is not susceptible of an

   interpretation that covers the asserted dispute.”      Id.   “The Second Circuit has recently

   ‘emphasized that a broad arbitration clause may extend to a collateral issue even where the

   collateral issue involves no ‘issue of contract interpretation [or] construction, or application of

   any provision of the charter,’ if the collateral issue ‘touches matters' covered by the parties'

   contracts.”   Stechler v. Sidley, Austin Brown & Wood, L.L.P., 382 F. Supp. 2d 580, 589

   (S.D.N.Y. 2005) (Citation omitted).

                  a. The Amended Securities Fraud Claims Must Be Referred To Arbitration

          Despite Plaintiffs’ artful pleading, the amended securities fraud claims are arbitrable. In

   the Motion to Amend, Plaintiffs assert “[t]he proposed amended complaint would plead a claim

   for securities fraud based upon the Individual Plaintiffs’ purchase of membership interests in the

   LLC Plaintiffs, rather than membership interests in the Holding Company Defendants as

   previously pleaded.” Motion to Amend at 11. The Fourth Cause of Action in the TAC is, in

   fact, a claim for securities fraud by the Individual Plaintiffs against Strulovitch and Oberlander.


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   The Fifth Cause of Action in the TAC, however, is a claim for securities fraud brought by the

   LLC Plaintiffs against Strulovitch and Oberlander. The Motion to Amend does not discuss the

   Fifth Cause of Action. We will address each claim.

          The Fourth Cause of Action must be arbitrated, despite the Individual Plaintiffs’ efforts to

   plead around the arbitration clause of the Holding Company Agreements. As stated by Plaintiffs,

   “[t]he sole purpose of the LLC Plaintiffs was to invest in the Schedule A Properties, albeit

   indirectly.” Motion to Amend at 13. However, Plaintiffs contend that this “new securities fraud

   claim is not within the scope of the parties’ arbitration agreement as it does not ‘relat[e] to this

   [Holding Company] Agreement.’” Id. The “albeit indirectly” in the penultimate sentence can be

   replaced with “through the Holding Company Agreements.” That is how the LLC Plaintiffs and

   Individual Plaintiffs indirectly invested in the Schedule A Properties. The signatory Individual

   Plaintiffs’ investment in the LLC Plaintiffs clearly “pertains” to and touches upon the Holding

   Company Agreements, and therefore any securities fraud claim arising from an investment in the

   LLC Plaintiffs is arbitrable.

          Plaintiffs argue that this cause of action is not within the scope of the arbitration

   agreement because the Individual Plaintiffs allege they invested before the Holding Company

   Agreements were circulated. Motion to Amend ¶ 13. However, that argument ignores that the

   “Second Circuit generally presumes retroactive application of broad arbitration provisions absent

   explicit temporal limitations.” Raymond v. Mid-Bronx Haulage Corp., No. 15-CV-5803 (RJS),

   2017 WL 9882601, at *4 (S.D.N.Y. June 10, 2017); Smith/Enron Cogeneration Ltd. P’ship, Inc.

   v. Smith Cogeneration Int'l, Inc., 198 F.3d 88, 98-99 (2d Cir. 1999) (compelling arbitration even

   though claims accrued before the agreement was entered because the agreement required

   arbitration of “any dispute, disagreement, controversy or claim arising under ... this agreement”




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   since the “relevant inquiry is whether SCI's claims ‘relat[e] to any obligation or claimed

   obligation under’ the 1994 Agreement, not when they arose”).

          In any event, the question of whether an arbitration provision should be applied

   retroactively is “properly decided by the arbitrator, not the Court” since the Court has already

   found that the signatory Individual Plaintiffs are bound by the arbitration agreements. Raymond,

   2017 WL 9882601, at *4; Martinez v. Paramount Country Club, No. 18 CV 4668 (VB), 2019

   WL 4450552, at *5 (S.D.N.Y. Sept. 17, 2019) (“This issue is for the arbitrator to decide.

   Whether the arbitration agreement applies to plaintiff’s claims accruing before September 2016

   is a question regarding the time limit of the arbitration agreement and concerns interpretation of

   the arbitration agreement. It does not concern whether the parties are bound by the arbitration

   agreement.”). Thus, any Individual Plaintiff who executed a Holding Company Agreement must

   arbitrate this claim as set forth in the Order. With respect to the Individual Plaintiffs who did

   execute the Holding Company Agreements, the Motion to Amend should be denied for the

   reasons stated above (bad faith and undue delay) and those stated below (amendment is futile).

          The Fifth Cause of Action of the TAC is indisputably arbitrable. It is a claim by the LLC

   Plaintiffs against Strulovitch and Oberlander for securities fraud. The alleged security is an

   interest in the Holding Companies. As this Court has already held, such a claim by the LLC

   Plaintiffs, signatories to the Holding Company Agreements, “pertains to” the Holding Company

   Agreements and is therefore arbitrable. Order at 46-47.

          Notably, Strulovitch signed the Holding Company Agreements on behalf of each of the

   LLC Plaintiffs, CSRE, and the Holding Companies. As such, he has every right to compel

   arbitration with respect to this claim. Hirschfeld Prods., Inc. v. Mirvish, 88 N.Y.2d 1054, 1056,

   651 N.Y.S.2d 5, 6 (1996) (“The Federal courts have consistently afforded agents the benefit of




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   arbitration agreements entered into by their principals to the extent that the alleged misconduct

   relates to their behavior as officers or directors or in their capacities as agents of the

   corporation.”) (citing Roby v. Corp. of Lloyds, 996 F.2d 1353, 1360 (2d Cir. 1993)); Elwell v.

   Google, Inc., No. 05 Civ. 6498 (DLC), 2006 WL 217978, at *4 (S.D.NY Jan 30, 2006)

   (extending “benefit” of arbitration clause to vice president of corporation sued for employment

   discrimination, retaliation, and tort claims); Stechler, 382 F. Supp. 2d at 591 (holding that

   “although James Haber did not sign the Agreements in his personal capacity, he may take

   advantage of the arbitration clauses because he was a disclosed agent of DGI”); Mosca v.

   Doctors Assocs., Inc., 852 F. Supp. 152, 155 (E.D.N.Y. 1993) (“This court will not permit

   Plaintiffs to avoid arbitration simply by naming individual agents of the party to the arbitration

   clause and suing them in their individual capacity. To do so would be to subvert the federal

   policy favoring arbitration and the specific arbitration clause in the instant case.”); see also

   Arnold v. Arnold Corp., 920 F.2d 1269, 1281 (6th Cir. 1990) (if a party “can avoid the practical

   consequences of an agreement to arbitrate by naming nonsignatory parties as [defendants] in his

   complaint, or signatory parties in their individual capacities only, the effect of the rule requiring

   arbitration would, in effect, be nullified”); Dassero v. Edwards, 190 F. Supp. 2d 544, 549

   (W.D.N.Y. 2002) (“Since plaintiffs’ own allegations indicate that, with respect to the underlying

   transactions, ETS and Edwards were virtually one and the same, I believe that he should

   therefore be deemed to be covered by the arbitration clause in the Agreement that he signed on

   ETS's behalf”); Scher v. Bear Stearns & Co., 723 F. Supp. 211, 217 (S.D.N.Y. 1989) (“If this

   Court were to allow plaintiff to avoid arbitration of claims arising out of the customer agreement,

   simply by naming individual agents of the institutional party as defendants, it would in effect




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   ignore both the particular arbitration clause and the explicit federal policy in favor of

   arbitration.”).

           Accordingly, the LLC Plaintiffs and signatory Individual Plaintiffs’ securities fraud

   claims remain arbitrable.

                     b. The Alternative RICO Claims Are Arbitrable

           The alternative RICO claims are also arbitrable.         Those claims are brought by the

   “Plaintiffs,” which appears to mean the Individual Plaintiffs, LLC Plaintiffs, and Derivative

   Plaintiffs, against Strulovitch and Oberlander. TAC, Causes of Action 1-3. The RICO claims

   are nearly identical to the securities fraud claims in that they rely on the same alleged

   misrepresentations by the Individual Defendants which allegedly induced Plaintiffs to invest

   moneys in the LLC Plaintiffs, who then acquired interests in the Holding Companies or that the

   Individual Defendants “diverted from moneys invested by Plaintiffs for the acquisition and

   development of [the Schedule A Properties].” See TAC ¶¶ 307, 309; see also id. ¶¶ 312, 314,

   316, 318, 322, 330. All such claims brought by the signatory Individual Plaintiffs, the LLC

   Plaintiffs, and Holding Companies, derivatively, are arbitrable as they pertain to and touch upon

   the Holding Company Agreements.

                     c. The Amended Common Law Claims Must Also Be Referred To Arbitration

           The proposed amended common law claims brought by the signatory Individual

  Plaintiffs, LLC Plaintiffs, and Derivative Plaintiffs are arbitrable.

                           1. The Signatory Individual Plaintiffs’ common law claims are
                              arbitrable.

           The Individual Plaintiffs’ common law claims against the Individual Defendants are

   arbitrable. Count 6 of the TAC is for fraud brought by the Individual Plaintiffs against the

   Individual Defendants. This claim allegedly arises from “misrepresentations and omissions …



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   by the Individual Defendants to induce the Individual Plaintiffs to invest in the [Schedule A

   Properties].” TAC ¶ 356. As already held by this Court, the signatory Individual Plaintiffs must

   arbitrate this claim. Order at 36. The same goes for the signatory Individual Plaintiffs’ claims

   for unjust enrichment against all Defendants. TAC, Cause of Action 13; Order at 46-47.

                          2. The LLC Plaintiffs’ common law claims are arbitrable.

          The LLC Plaintiffs’ common law claims against the Individual Defendants are arbitrable.

  Count 7 of the TAC is for fraud brought by the LLC Plaintiffs against the Individual Defendants

  arising from “misrepresentations and omissions … by the Individual Defendants to induce the

  LLC Plaintiffs to invest in the [Schedule A Properties].” As already held by this Court, the LLC

  Plaintiffs must arbitrate this claim. Order at 36, 47. The same for Count 14 of the TAC, which is

  the LLC Plaintiffs’ claim for unjust enrichment against the Individual Defendants and Count 16

  of the TAC, which is unjust enrichment by the LLC Plaintiffs against CSRE. Id.

          Count 9, which is for breach of fiduciary duty by the LLC Plaintiffs against the

  Individual Defendants as Managers of the LLC Plaintiffs, is also arbitrable. Since “[t]he sole

  purpose of the LLC Plaintiffs was to invest in the Schedule A Properties” (Motion to Amend at

  13), any alleged breach of fiduciary duty arose with respect to the LLC Plaintiffs’ investment in

  the Schedule A Properties, through the Holding Company Agreements. Indeed, the TAC makes

  that clear as the asserted breach occurred when the Individual Defendants allegedly “engage[d] in

  self-dealing with money intended for the Holding Companies…” TAC ¶ 390. Strulovitch signed

  the Holding Company Agreements on behalf of each of the LLC Plaintiffs, CSRE, and the

  Holding Companies. See, e.g., Brach Decl. Ex. 2. As such, he has every right to compel

  arbitration with respect to this claim. See supra § 4(a).




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           Plaintiffs make the nuanced argument that the breach of fiduciary duty claim by the LLC

  Plaintiffs against the Individual Defendants is an internal matter that cannot be governed by the

  Holding Company Agreement. This Court has already found otherwise. In their eighth cause of

  action of the SAC, the LLC Plaintiffs sought an accounting from the Individual Defendants

  because the “Individual Defendants are the managers, and are in possession, of the books and

  records of the LLC Plaintiffs.” Order at 17 n. 8. The Court held that “[t]he LLC Plaintiffs’ claim

  for accounting against the Individual Defendants … is also referred to arbitration.” Order at 47.

  Likewise, the Court referred the LLC Plaintiffs’ claim for fraud and unjust enrichment against

  Strulovitch to arbitration. Order at 47. Thus, Plaintiffs’ argument fails.10

           The same goes for Count 11 which is the conversion claim by the LLC Plaintiffs against

  the Individual Defendants. The alleged conversion took place “before the transfer of funds to the

  Holding [Companies].” Motion to Amend at 19. Even if the Court were to accept this new

  allegation as true, the claim is arbitrable as it is a “doubt, question or other disagreement …

  pertaining to [the Holding Company] Agreement.” When the purported illegal transfer happened

  does not render the arbitration agreement inapplicable.                   What matters is that the alleged

  conversion is “anything pertaining” to the arbitration agreement.                  In any event, as explained

  above, the Second Circuit generally presumes retroactive application of broad arbitration

  provisions absent explicit temporal limitations. See supra § 4(a)

                             3. The Derivative Plaintiffs’ common law claims against the Individual
                                Defendants are arbitrable.

           The Derivative Plaintiffs’ common law claims against the Individual Defendants are

  arbitrable. Counts 8, 10, 15, and 19 of the TAC are for breach of fiduciary duty, conversion,


           10
             Naturally, in light of the law of the case, LLC Plaintiffs’ claim for an accounting against the Individual
   Defendants must also me referred to arbitration. TAC, Count 18.




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  unjust enrichment, and accounting, respectively, by the Derivative Plaintiffs – i.e., the Holding

  Companies – against the Individual Defendants, stemming from the allegations that the Individual

  Defendants diverted the Holding Companies’ moneys, usurped corporate opportunities, withheld

  rent proceeds, failed to make loan payments, and failed to develop the Schedule A Properties.

  TAC ¶ 386. Besides the fact that Plaintiffs are hopelessly conflicted in asserting such claims,11

  these claims are “anything pertaining” to the Holding Company Agreements, and are therefore

  arbitrable.

            Plaintiffs assert that these claims are not arbitrable because the Individual Defendants

  “were not parties to the Holding Company Agreements, nor were they appointed managers by the

  agreements themselves.” Motion to Amend at 20. However, as set forth above, the case law is

  legion that a plaintiff cannot avoid arbitration by simply naming agents of a company in their

  individual capacity. See § 4(a). And, notably, managers and/or agents can compel arbitration of

  derivative claims. See Maresca v. La Certosa, 172 A.D.2d 725, 725, 569 N.Y.S.2d 111, 111 (2d

  Dep’t 1991) (compelling arbitration of derivative claims brought against company president who

  was accused of committing waste and diversion of corporate assets); King ex rel. Massey Knakal

  Realty of Brooklyn, LLC v. Massey Knakal Realty Holdings LLC, 24 Misc. 3d 1242(A), 2009 WL

  2712172, at *3 (Sup. Ct. N.Y. Cty. 2009) (“Thus, a claim of a breach of fiduciary duty to an LLC

  is inherently a breach of contract cause of action as among the members of the LLC and is



            11
               See Tatintsian v. Vorotyntsev, No. 1:16-CV-7203-GHW, 2018 WL 2324998, at *3 (S.D.N.Y. May 22,
   2018) (“An actual conflict may exist where ‘substantial recovery on the [direct] claim may reduce the potential
   recovery on behalf of the corporation on the derivative claim.’”) (Citation omitted). Indeed, the Individual Plaintiffs
   appear to assert claims against the Holding Companies. TAC, Count 13. Bizarrely, the Derivative Plaintiffs assert
   claims against themselves. TAC, Count 17. A recent proof of claim filed by the Plaintiffs confirms that they are
   asserting claims against the Holding Companies. Ross Decl. Ex. 18, ¶ 7 (“Claimants have a claim against [one of the
   Holding Companies] for conversion of their funds.”); Id. ¶ 8 (“Claimants have a claim against [one of the Holding
   Companies] for unjust enrichment.”); Id. ¶ 11 (“LLC Claimant … has a claim against [one of the Holding
   Companies] for securities fraud.”). Further, if the Derivative Plaintiffs were to prevail on their claims against the
   Individual Defendants, recovery on the derivative claim would be reduced to zero in light of the fact that the


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  properly resolved in arbitration where the operating agreement contains an arbitration

  provision.”). Accordingly, Counts 8, 10, 15, and 19 are arbitrable.

                                4. The claims against the Secret LLC Defendants and Defendants’
                                Affiliated Entities are arbitrable

           The claims against the Secret LLC Defendants (TAC ¶ 49) and Defendants Affiliated

   Entities (TAC ¶ 47) are arbitrable. Count 12 asserts a claim for constructive trust over title to the

   Secret Properties against the Secret LLC Defendants, Count 13 asserts a claim for unjust

   enrichment against all of the Defendants, and Count 17 asserts a claim for unjust enrichment

   against the Secret LLC Defendants and some of the Defendants’ Affiliated Entities. It is correct

   that the Secret LLC Defendants and the Defendants’ Affiliated Entities (with the exception of

   CSRE) are not parties to the Holding Company Agreements. But, as recognized by this Court, a

                   non-signatory may compel arbitration under a theory of equitable
                   estoppel. In circumstances where a non-signatory seeks to compel
                   arbitration, courts in this Circuit apply a two part test in
                   “determining whether the signatory's claims are intertwined with
                   the underlying contract obligations . . . [analyzing] whether (1) the
                   signatory's claims arise under the 'subject matter' of the underlying
                   agreement, and (2) whether there is a close relationship' between
                   the signatory and the non-signatory party.’” Ragone, No. 07-CV-
                   6084 (JGK), 2008 WL 4058480, at *8 (S.D.N.Y. Aug. 29, 2008),
                   aff’d, 595 F.3d 115 (2d Cir. 2010); see also Ross, 478 F.3d at 480-
                   85. The party seeking to compel arbitration bears the burden of
                   proving that equitable estoppel applies. See Local Union No. 38,
                   Sheet Metal Workers' Int'l Ass'n, AFL-CIO v. Custom Air Sys.,
                   Inc., 357 F.3d 266, 268 (2d Cir. 2004).

   Order at 33-34. It is indisputable that Plaintiffs’ claims arise under the subject matter of the

   Holding Company Agreements. Indeed, the claims are that the Individual Defendants procured

   investments from the Individual Plaintiffs and the LLC Plaintiffs and fraudulently removed and



   Holding Company Agreements have an indemnification provision. See, e.g., Brach Decl. Ex. 2, § 6. Clearly,
   Plaintiffs are conflicted in asserting derivative claims on behalf of the Holding Companies.




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   diverted those moneys to the Secret LLC Defendants and/or the Secret Properties and Additional

   Secret Properties. See TAC, Counts 12, 13, 17.

          The second prong is also satisfied as there exists, as alleged, a close relationship between

   the signatories to the Holding Company Agreements, the Secret LLC Defendants, and the

   Defendants’ Affiliated Entities. “[T]he requisite close relationship for equitable estoppel could

   be established by the plaintiff's allegations of ‘substantially interdependent and concerted

   misconduct’ by the signatory and non-signatory defendants.” Ragone v. Atl. Video at Manhattan

   Ctr., No. 07 CIV. 6084 (JGK), 2008 WL 4058480, at *9 (S.D.N.Y. Aug. 29, 2008), aff'd, 595

   F.3d 115 (2d Cir. 2010) (citing Denney v. BDO Seidman, L.L.P., 412 F.3d 58, 70 (2d Cir. 2005)).

   In Denney, the court found:

                 [h]aving alleged in this RICO action that the Deutsche Bank and
                 BDO defendants acted in concert to defraud plaintiffs ... plaintiffs
                 cannot now escape the consequences of those allegations by
                 arguing that the Deutsche Bank and BDO defendants lack the
                 requisite close relationship, or that plaintiffs' claims against the
                 Deutsche Bank defendants are not connected to Deutsche Bank's
                 relationship with BDO.

          Here, the gist of the constructive trust and unjust enrichment claims is that the Individual

   Defendants, in their fiduciary relationship with the Individual Plaintiffs, LLC Plaintiffs, and

   Holding Companies, procured significant sums of moneys from the Plaintiffs that were supposed

   to go toward the purchase and development of the Schedule A Properties but instead transferred

   those monies to the Secret LLC Defendants to the benefit of themselves, the Secret LLC

   Defendants, and Defendants’ Affiliated Entities. Although Plaintiffs fail to properly plead the

   existence of an “enterprise” under RICO law (discussed below), they do allege, in conclusory

   fashion, that the Individual Defendants, Secret LLC Defendants, and Defendants Affiliated

   Entities worked together to defraud Plaintiffs.        TAC ¶¶ 300-02.    Accordingly, the “close




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   relationship” prong has been established by these conclusory allegations of concerted

   misconduct by the signatory and non-signatory defendants. Accordingly, the claims against the

   Secret LLC Defendants and Defendants’ Affiliated Entities are arbitrable. 12

    5. The Proposed Amended Securities Fraud Claims Would Not Survive A Motion To
       Dismiss, And Are Therefore Futile

            A court may deny leave to amend “if the amendment would be futile.” Szabo v. Reilly,

   No. 91 CIV. 5209 (JFK), 1994 WL 38684, at *1 (S.D.N.Y. Feb. 4, 1994). An amendment to a

   complaint is “futile if the amended portion would not survive a motion to dismiss.” Id. The

   amendments to the TAC would not survive a motion to dismiss and therefore the Motion to

   Amend must be denied.13

                     a. The proposed amended securities fraud claims are common law claims
                        dressed up as federal claims

            The proposed amended securities fraud claims are common law claims dressed up as

   federal claims. The Supreme Court has found that “Congress by § 10(b) [does] not seek to

   regulate transactions which constitute no more than internal corporate mismanagement.” Santa

   Fe Indus., Inc. v. Green, 430 U.S. 462, 480 (1977); Ciresi v. Citicorp, 782 F. Supp. 819, 821

   (S.D.N.Y. 1991) (“Even if well-pled, allegations of mismanagement are not actionable under

   section 10(b) of the federal securities laws”), aff'd without opinion, 956 F.2d 1161 (2d Cir.

   1992); Coppola v. Applied Elec. Corp., No. 98 CV 3149, 1998 WL 667934, at *3 (E.D.N.Y.

   Aug. 3, 1998) (“Simply the fact that the converted property comprises securities does not

   transform plaintiff's claim of conversion to one for securities fraud.”).




         12
            CSRE is defined as one of the Defendants’ Affiliated Entities. Obviously, as party to the Holding
   Company Agreements, all claims against CSRE, as already held by this Court, are arbitrable.
            13
              To the extent it is necessary, Defendants reserve the right to seek permission to file a motion to dismiss
   the TAC if any aspect of the Motion to Amend is granted.


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          For example, in Mutual Shares Corp. v. Genesco, Inc., 384 F.2d 540 (2d Cir. 1967), the

   Court of Appeals dismissed a claim similar to the scheme alleged here. Minority shareholders

   claimed, among other things, that the majority shareholders ran the company in their own

   interests rather than the company’s, by diverting company assets to themselves. Id. at 542. The

   court held that those allegations “are primarily corporate abuse and diversion, claims cognizable

   under state law but not under the [Exchange] Act.” Id. at 546.

          Likewise, in Pross v. Katz, the plaintiff claimed securities fraud based upon the

   defendant’s promise that he would manage a real estate partnership faithfully and on plaintiff's

   behalf “while secretly intending to carry out a plan to divest Pross of his interests.” 784 F.2d

   455, 457 (2d Cir. 1986). The Court held that defendant’s promise was not “‘in connection with

   the purchase or sale’ of securities” since the promise was not “part of the consideration for a sale

   of securities.” Id. at 456–57. Indeed, it was held that promises which arise from a fiduciaries’

   already existing obligations, are “not sufficient to make out a federal claim.”         Id. at 458.

   Specifically, the Court explained:

                  Fiduciary duties thus arise by operation of law, and Katz, as the
                  manager of Pross' investments, owed Pross such a duty whether or
                  not he explicitly promised to perform it. The promises alleged,
                  therefore, were essentially irrelevant because they merely restated
                  legal duties already owed. The explicit promises alleged in the
                  complaint, therefore, were already implicit promises arising from
                  the very nature of the relationship.

   Id. Thus, the Court found that “a breach of a promise not to breach that duty also fails to trigger

   that provision. Were we to hold otherwise, any fiduciary breach could be converted into a federal

   action by the simple allegation that the fiduciary had promised to perform his duties and then

   failed to do so.” Id.




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           Here, as in Pross and Genesco, Plaintiffs attempt to stretch common law claims into an

   actionable federal securities fraud claim. The allegations of misrepresentation in connection

   with the sale of securities arise from the alleged statements in the prospectuses that the

   Individual Defendants would “tend to, manage and worry for the project by doing all that is

   required for the success of the business venture…” TAC ¶ 69.              Further, the Individual

   Defendants allegedly omitted to disclose that they intended to divert Plaintiffs’ funds. TAC ¶¶

   70-73. These alleged misrepresentations and omissions, are, as in Pross, “irrelevant” because

   they “merely restated legal duties already owed.” Accordingly, the amended securities fraud

   claims must be dismissed.

                  b. The Individual Plaintiffs did not acquire a “security” when obtaining an
                     interest in the LLC Plaintiffs

           With respect to Count 4, the Individual Plaintiffs’ § 10(b) claim is “for the purchase of a

   direct interest in the membership interests of the LLC Plaintiffs.” Motion to Amend at 11. An

   interest in an entity will constitute a security “if it represents: (1) an investment in a common

   venture; (2) premised on a reasonable expectation of profits; (3) to be derived from the

   entrepreneurial or managerial efforts of others.” Nelson v. Stahl, 173 F. Supp. 2d 153, 164

   (S.D.N.Y. 2001) (the “Howey Test”). Plaintiffs’ claim fails under the third part of the Howey

   Test.

           While Plaintiffs have pled that Strulovitch is the manager of the LLC Plaintiffs (Order at

   4-5), “[t]he delegation of rights and duties standing alone does not give rise to the sort of

   dependence on others which underlies the third prong of the Howey Test.” Nelson, 173 F. Supp.

   2d at 165 (citations omitted). “[T]he mere choice by a [member] to remain passive is not

   sufficient to create a security interest.” Id. (citations omitted). “The delegation of membership

   responsibilities, or the failure to exercise membership powers does not ‘diminish the investor’s



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   legal right to a voice in partnership matters.’” Id. (citations omitted); In re Mautner v. Alvin H.

   Glick Irrevocable Grantor Tr., No. 19 CIV. 2742 (NRB), 2019 WL 6311520, at *8 (S.D.N.Y.

   Nov. 25, 2019) (A “member’s objective ability to exercise control, not the formal exercise of

   control … governs the inquiry.”). Notably, allegations that someone is too “unsophisticated to

   assert his rights” or lives far away does not change the analysis under the Howey Test. See, e.g.,

   id. at *8 (holding that the failure to “exercise his control rights under the Operating Agreement”

   because he “liv[ed] in Georgia instead of New York City [and] was too unsophisticated to assert

   his rights” did not convert plaintiff’s “membership interests in the Property LLC” into an

   investment contract.).

          Because the LLC Plaintiffs do not have an operating agreement, the LLC Plaintiffs are

   member-managed, precluding satisfaction of the third element of the Howey Test. See Order at 4-

   5; LLC Law § 401. Where there is not an operating agreement for a limited liability company,

   “management of the limited liability company shall be vested in its members who shall manage

   the limited liability company.…” LLC Law § 401(a). As such, “any such member exercising

   such management powers or responsibilities shall be deemed a manager … and such member

   shall have and be subject to all of the duties and liabilities of a manager provided in this

   chapter.” LLC Law § 401(b). In other words, regardless of whether the Individual Plaintiffs

   allegedly appointed Strulovitch as a manager of the LLC Plaintiffs, under New York law, they

   retained significant managerial control over the LLC Plaintiffs.         See LLC Law §§ 401

   (management rights), 402 (voting rights), 412 (agency rights), 414 (replacement of managers),

   amongst many other rights.

          In fact, the Individual Plaintiffs have exercised those powers on several occasions.

   Indeed, the Court has already recognized that “plaintiffs have submitted evidence that the




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   members of the LLC Plaintiffs have authorized them to bring this suit…” Order at 40, n. 16; see

   also Halpern Declaration dated August 10, 2017, Ex. 1 (D.E. 221:1-5) (attaching resolutions,

   purportedly from the majority of the investors in the LLC Plaintiffs, “hereby consent[ing] to, and

   adopt[ing], the followed resolutions pursuant to the Limited Liability Act of the State of New

   York and declare them to be in full force and effect as if they had been adopted at a duly

   convened meeting of the members of the Company”). If that were not enough, in September

   2019, the members of the LLC Plaintiffs purported to vote Strulovitch out as their manager. TAC

   ¶ 46.

           The TAC makes clear that the Individual Plaintiffs expected to have control over the LLC

   Plaintiffs. The sole purpose of the LLC Plaintiffs was to invest in the Holding Company

   Defendants.    Motion to Amend at 13.         Plaintiffs allege that “[b]ut for [the Individual

   Defendants’] representations and omissions, the LLC Plaintiffs would not have invested any

   funds with the Individual Defendants and purchased their membership interests in the Holding

   Companies.” TAC ¶ 76; see also ¶ 352 (“But for these misrepresentations, the LLC Plaintiffs

   would not have purchased the aforementioned securities.”); ¶ 370 (“The LLC Plaintiffs

   reasonably relied on these misrepresentations and omissions in electing to invest with the

   Individual Defendants and to forgo other investment opportunities.”); ¶ 373 (“But for these

   misrepresentations and omissions, which were material, the LLC Plaintiffs would not have

   invested any money with the Individual Defendants.”); ¶ 378 (same); ¶ 379 (“But for these

   misrepresentations and omissions, which were material, the LLC Plaintiffs would not have

   invested further money with the Individual Defendants.”). Obviously, the Individual Plaintiffs

   have control over the LLC Plaintiffs if the LLC Plaintiffs would not have made investments in

   the Holding Companies if the Individual Defendants were truthful.




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           As a result, the Individual Plaintiffs’ investments in the LLC Plaintiffs were not a

   security, and therefore the 10(b) claim fails. See Nelson, 173 F. Supp. 2d 153; see also Keith v.

   Black Diamond Advisors, Inc., 48 F. Supp. 2d 326, 333 (S.D.N.Y. 1999) (“Under the Agreement

   and N.Y. LLC Law, [members of a member-managed LLC pursuant to an operating agreement

   and LLC Law § 401] are endowed with a broad range of rights and powers.… This level of

   control is antiethical to the notion of member passivity required under the fourth prong of [the

   Howey Test].”); Great Lakes Chem. Corp. v. Monsanto Co., 96 F. Supp. 2d 376, 392 (D. Del.

   2000) (holding that even though LLC agreement vested management in the Board, the plaintiffs’

   “authority to remove managers gave it the power to directly affect the profits it received from

   NSC [and t]hus, the court finds that [plaintiffs’] profits from NSC did not come solely from the

   efforts of others.”).

                    c. The securities fraud claims fail for all of the reasons stated in the motion to
                       dismiss the SAC

           The arguments raised in the motion to dismiss the securities fraud claim in the SAC are

   still applicable and render the proposed amended pleading futile. While reserving their right to

   amplify these arguments in a future motion to dismiss in the event the Motion to Amend is

   granted, Defendants refer the Court to their reply in support of the motion to dismiss the SAC

   (“Reply MOL”), which explains additional reasons why the securities fraud claims fail. See D.E.

   203.

        The Individual Plaintiffs’ claims are barred by the applicable statutes of limitation and
         repose. Reply MOL at 29-31.14 This argument is also addressed in the RICO section
         below.



            14
               This defense is bolstered by Plaintiffs’ acknowledgement that the Individual Plaintiffs “allege they
   invested long before [those Holding Company Agreements] were circulated…” Motion to Amend at 13 (citing
   Order at 32).




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        The Individual Plaintiffs failed to plead the nature and amount of securities purchased, and
         when they were purchased. Reply MOL at 32-35. This argument is also addressed in the
         RICO section below.

        The SAC makes dismissible group pleading allegations. Reply MOL at 35-36. This
         argument is also addressed in the RICO section below.

        Certain of the alleged misrepresentations were true statements. Reply MOL at 36.

        The Individual Plaintiffs who signed the Holding Company Agreements and the LLC
         Plaintiffs disclaimed reliance on any alleged misrepresentations. Reply MOL at 37-41

    6. The Proposed RICO Claims Would Not Survive A Motion To Dismiss And Are
       Therefore Futile

           Recognizing that their securities fraud claims are inherently weak, Plaintiffs attempt to

   plead an alternative RICO claim. Plaintiffs’ RICO claims contain such glaring and fundamental

   defects that it calls into question Plaintiffs’ decision to file it. This claim should be dismissed

   before any further harm is inflicted on Defendants. Katzman v. Victoria’s Secret Catalogue, 167

   F.R.D. 649, 655 (S.D.N.Y. 1996), aff’d, 113 F.3d 1229 (2d Cir. 1997) (“Because the mere

   assertion of a RICO claim . . . has almost inevitable stigmatizing effect on those name as

   defendants, . . . courts should strive to flush out frivolous RICO allegations at an early stage of

   litigation”).

           A plaintiff asserting a civil RICO claim must show: “(1) a substantive RICO violation

   under § 1962; (2) injury to the plaintiff's business or property, and (3) that such injury was by

   reason of the substantive RICO violation.” Sanchez v. ASA Coll., Inc., No. 14-CV-5006 JMF,

   2015 WL 3540836, at *4 (S.D.N.Y. June 5, 2015) (Furman, J.) (internal quotations omitted). “A

   violation of § 1962(c) . . . requires (1) conduct (2) of an enterprise (3) through a pattern (4) of

   racketeering activity.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985).

           The Second Circuit has cautioned courts to carefully scrutinize RICO claims “because of

   the relative ease with which a plaintiff may mold a RICO pattern from allegations that, upon



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   closer scrutiny, do not support it.” Crawford v. Franklin Credit Mgmt. Corp., 758 F.3d 473, 489

   (2d Cir. 2014); C.A. Westel de Venezuela v. Am. Tel. & Tel. Co., No. 90 Civ. 6665 (PKL), 1994

   WL 558026, at *7 (S.D.N.Y. Oct. 11, 1994) (“Plaintiff has attempted to plead a RICO violation

   in what is essentially a routine commercial dispute.”), aff’d, 54 F.3d 766 (2d Cir. 1995).

                     a. The RICO Claims are time barred

            It is well-settled federal law that civil RICO claims are subject to a four-year statute of

   limitations. See Rotella v. Wood, 528 U.S. 549, 552 (2000) (citing Agency Holding Corp. v.

   Malley-Duff Assocs., Inc., 483 U.S. 143, 156 (1987)).                     In New York, federal courts have

   consistently held that “[t]he limitations period begins to run when the plaintiff discovers or

   should have discovered the RICO injury,” irrespective of whether the plaintiff “discovered or

   should have discovered the underlying pattern of racketeering activity, even if such activity

   includes fraud.” See Frankel v. Cole, 313 F. App’x 418, 419-20 (2d Cir. 2009) (internal

   quotations and citations omitted). Thus, to determine whether a civil RICO claim is time-barred,

   the Court must conduct a two-step inquiry, determining first “when plaintiffs sustained the

   alleged injury for which they seek redress,” and determining second “when plaintiffs “discovered

   or should have discovered that injury,” at which point in time the four-year statute of limitations

   begins to run. See id. at 419-20 (internal quotations and citations omitted).15 “The RICO statute

   of limitations ... runs even where the full extent of the RICO scheme is not discovered until a

   later date, so long as there were ‘storm warnings' that should have prompted an inquiry.” World

   Wrestling Entm't, Inc. v. Jakks Pac., Inc., 328 F. App'x 695, 697 (2d Cir. 2009). Such storm

   warnings, “need not detail every aspect of the alleged fraudulent scheme…; [r]ather, such storm



            15
               “In cases like this one—where plaintiffs acquire an interest in a limited partnership in reliance on
   allegedly fraudulent offering material—the injury to the plaintiffs is the actual purchase of the partnership interest.”
   In re Integrated Res., Inc. Real Estate Ltd. P’ships Sec. Litig., 851 F. Supp. 556, 567 (S.D.N.Y. 1994)


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   warnings are sufficient where, ‘a person of ordinary intelligence would consider it “probable”

   that fraud had occurred.’” Koch v. Christie's Int'l PLC, 699 F.3d 141, 151 (2d Cir. 2012)

           Plaintiffs filed their Complaint on April 10, 2017. Therefore, RICO claims related to

   injuries discovered, or discoverable, by Plaintiffs prior to April 10, 2013 are barred by the statute

   of limitations. The below is a non-exclusive list of publicly available16 “storm warmings” that

   arose prior to April 10, 2013.

           According to the TAC, on February 6, 2012, the “Individual Defendants” transmitted to

   the “Individual Plaintiffs” a prospectus for investments in 908 Bergen Street. TAC ¶ 77. This

   Prospectus “mispresented … that the purchase price of this property, including closing costs, was

   going to be $425,000” and that there were three apartments when the Individual Defendants

   knew that there were only two. TAC ¶¶ 78-81. The actual price paid, however, was $200,000.

   TAC ¶ 79. Plaintiffs allegedly transferred money between February 24, 2012 and April 4, 2012

   to be used for the purchase and development of this property. TAC ¶ 85. Plaintiffs claim that

   “[b]ut for the representations and omissions in [this prospectus],” the Individual Plaintiffs would

   not have transferred this money. TAC ¶ 86. The deed for 908 Bergen Street, which was filed on

   April 6, 2012, clearly shows that the property was sold for $200,000 and that it is a 2-family

   building. Ross Decl. Ex. 7.

           Likewise, on or about June 21, 2012, the “Individual Defendants” allegedly transmitted

   to the “Individual Plaintiffs” a prospectus to induce investments in 369 Gates Avenue and 1213

   Jefferson Avenue. TAC ¶ 93. This prospectus allegedly misrepresented that the purchase price

   for 1213 Jefferson Avenue was $420,000, when the actual purchase price was $340,000. TAC


            16
               “Judicial notice of public records is appropriate—and does not convert a motion to dismiss into a motion
   for summary judgment—because the facts noticed are not subject to reasonable dispute and are capable of being
   verified by sources whose accuracy cannot be reasonably questioned.” Bentley v. Dennison, 852 F. Supp. 2d 379,
   382 n.5 (S.D.N.Y. 2012), aff’d, 519 F. App’x 39 (2d Cir. 2013).


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   ¶¶ 95-96. Likewise, the prospectus allegedly misrepresented that the purchase price for 369

   Gates Avenue was $595,000 when it was actually $460,000. TAC ¶¶ 97-98. The prospectus also

   allegedly misrepresented that 369 Gates had three apartments when it only had one. TAC ¶¶ 99-

   100. Prior to the closing on these properties, the Individual Plaintiffs allegedly “transferred a

   total of $405,000” to the Individual Defendants for the acquisition of these properties, which

   they would not have done “[b]ut for the representations and omissions in the Fraudulent

   Prospectus.” TAC ¶¶ 103-04. The deed for 1213 Jefferson Avenue, which was filed on August

   13, 2012, clearly shows that the property was sold for $340,000. Ross Decl. Ex. 8. The deed for

   369 Gates Avenue, which was filed on February 28, 2013, clearly shows that the property was

   sold for $450,000 and that it is a 1-family building. Ross Decl. Ex. 9.

          Similarly, on or about July 16, 2012, the “Individual Defendants” allegedly transmitted to

   the “Individual Plaintiffs” a prospectus to induce investments in 853 Lexington Avenue. TAC ¶

   105. This prospectus allegedly misrepresented that the purchase price for 853 Lexington Avenue

   was $1,485,000, when the actual purchase price was $965,000. TAC ¶¶ 106-07. “Between July

   and December, 2012 … at least 32 separate investors … transferred a total of $650,000 in

   capital” to the Individual Defendants to be used for purchase and development of this Property,

   which they would not have done “[b]ut for the representations and omissions in the Fraudulent

   Prospectus.”   TAC ¶¶ 109-10.      The deed for 853 Lexington Avenue, which was filed on

   December 27, 2012, clearly shows that the property was sold for $965,000. Ross Decl. Ex. 10.

          Likewise, on or about August 29, 2012, the “Individual Defendants” allegedly

   transmitted to the “Individual Plaintiffs” a prospectus to induce investments in 618 Lafayette

   Avenue and 1078 Dekalb Avenue. TAC ¶ 117. This prospectus allegedly misrepresented that

   the combined purchase price would be $1,320,000 when the actual purchase price was $995,000.




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   TAC ¶¶ 118-19.            “Between August 2013 and December 17, 2012 … at least 19 separate

   investors … transferred a total of $405,000 in capital” to the Individual Defendants to be used

   for the purchase and development of these properties, which they would not have done “[b]ut for

   the representations and omissions in the Fraudulent Prospectus.” TAC ¶¶ 123-24. The deed for

   618 Lafayette Avenue, which was filed on January 10, 2013, clearly shows that the property was

   sold for $610,000. Ross Decl. Ex. 11. The deed for 1078 Dekalb Avenue, which was filed on

   December 31, 2012, clearly shows that the property was sold for $558,.000. Ross Decl. Ex. 12.

   The combined purchase price was therefore $1,168,000.17

              Similarly, on or about November 4, 2012, the “Individual Defendants” allegedly

   transmitted to the “Individual Plaintiffs” a prospectus to induce investments in 74 Van Buren

   Street. TAC ¶ 125. This prospectus allegedly misrepresented that the purchase price would be

   $475,000 when the actual purchase price was $315,000.                         TAC ¶¶ 127-28.         “In or about

   November, 2012 … at least 19 separate investors … transferred a total of $120,000 in capital to

   the Individual Defendants to be used for the purchase and development of this property” which

   they would not have done “[b]ut for the representations and omissions in the Fraudulent

   Prospectus.” TAC ¶¶ 132-33. The deed for 74 Van Buren Street, which was filed on December

   3, 2012, clearly shows that the property was sold for $315,000. Ross Decl. Ex. 13.

              Similarly, on or about December 2, 2012, the “Individual Defendants” allegedly

   transmitted to the “Individual Plaintiffs” a prospectus to induce investments in 325 Franklin

   Avenue. TAC ¶ 133. This prospectus allegedly misrepresented that the purchase price would be

   $1,420,000 when the actual purchase price was $1,350,000.                          TAC ¶¶ 134-35.       “Between

   December 2012 and February 7, 2013 … at least 38 separate investors … transferred a total of

   $550,000 in capital to the Individual Defendants to be used for the purchase and development of


   17
        We cannot explain the discrepancy between the pleading and the facts, perhaps Plaintiffs can.

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   this property” which they would not have done “[b]ut for the representations and omissions in

   the Fraudulent Prospectus.” TAC ¶¶ 139-40. The deed for 325 Franklin Avenue, which was

   filed on February 21, 2013, clearly shows that the property was sold for $1,350,000. Ross Decl.

   Ex. 14.

             Likewise, in or about October, 2012, the “Individual Defendants” allegedly transmitted to

   the “Individual Plaintiffs” a prospectus to induce investments in 578 Union Street. TAC ¶ 141.

   In October 2012, 41 separate investors allegedly transferred $600,000 to be used for the purchase

   and development of this Property.        TAC ¶ 142. In or about December 2012, Individual

   Defendants “purported to cancel the purchase of this Property stating that the buyer [sic] backed

   out on the deal” which turned out to be a lie as “Strulovitch and Oberlander purchased this

   property on December 28, 2012.” TAC ¶¶ 143-44; see also Ross Decl. Ex. 6, which is the deed

   to this property, which was filed on January 11, 2013.

             Rather than return the capital for 578 Union Street, “Individual Defendants” transmitted

   to the “Individual Plaintiffs” a different prospectus to induce them to reinvest the moneys from

   578 Union Street into 760-762 Willoughby Avenue. TAC ¶ 145. This prospectus allegedly

   misrepresented that the purchase price would be $1,295,000 when the actual purchase price was

   $995,000. TAC ¶¶ 146-47. “In December 2012 … at least 40 separate investors … transferred a

   total of $520,000 in capital to the Individual Defendants to be used for the purchase and

   development of [this property],” which they would not have done “[b]ut for the representations

   and omissions in the Fraudulent Prospectus.” TAC ¶¶ 151-52. The deed for 762 Willoughby

   Avenue, which was filed on January 10, 2013, clearly shows that the property was sold for

   $995,000. Ross Decl. Ex. 15.




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           Similarly, in or about December, 2012, the “Individual Defendants” allegedly transmitted

   to the “Individual Plaintiffs” a prospectus to induce investments in 348 St. Nicholas Avenue.

   TAC ¶ 199.        This prospectus allegedly misrepresented that the purchase price would be

   $1,200,000 and that the Individual Defendants would take out a mortgage loan of $900,000 when

   the actual purchase price was $1,125,000 and the Individual Defendants took out a loan for

   $1,100,000. TAC ¶¶ 200-01. The deed for 348 St. Nicholas Avenue, which was filed on

   January 16, 2013, clearly shows that the property was sold for $1,125,000. Ross Decl. Ex. 16.

   The mortgage for 348 St. Nicholas Avenue, which was filed on January 16, 2013, clearly shows

   a mortgage on the property in the amount of $1,100,000. Ross Decl. Ex. 17.

           Assuming Plaintiffs’ allegations are true, there were dozens of “storm warnings” that

   should have put the Individual Plaintiffs on notice of underlying fraud. A simple review of the

   deeds to the properties, which any reasonably diligent investor purchasing interests in property

   would have done, would have put the Individual Plaintiffs on notice of an alleged injury. Indeed,

   each of the deeds show that the Schedule A Properties were acquired for less than was allegedly

   promised in the “fraudulent prospectuses.”18 Public records are routinely cited by Courts to put

   Plaintiffs on inquiry notice for RICO and securities fraud purposes. See In re Global Crossing,

   Ltd. Sec. Litig., 313 F. Supp. 2d 189, 200 (S.D.N.Y. 2003) (inquiry notice arose from Fortune

   magazine article that “did not merely indicate general financial difficulties at GC; rather, it laid

   out in detail precisely the transactions at the heart of plaintiffs' allegations of accounting fraud”);

   Zirvi v. Flatley, No. 18-CV-7003 (JGK), 2020 WL 208820, at *6 (S.D.N.Y. Jan. 14, 2020)

   (RICO claim barred since “the existence of a patent application or a public patent puts parties on

   notice of their existence and therefore starts the clock on the limitations period”); Town of


           18
               The deeds also indicate how many units are in the buildings, which for a few of the properties were
   allegedly different than as set forth in the “fraudulent prospectuses.”


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   Mamakating v. Lamm, No. 15-CV-2865 KBF, 2015 WL 5311265, at *8 (S.D.N.Y. Sept. 11,

   2015) (dismissing RICO claim on statute of limitations grounds where “[e]ven if documents

   submitted to and acts taken by the Village did not put the Town on actual notice, the Town may

   properly be charged with inquiry notice of publicly accessible documents”), aff’d, 651 F. App’x

   51 (2d Cir. 2016). Accordingly, the RICO claims stemming from the properties acquired prior to

   April 10, 2013, fail.

          Moreover, despite Plaintiffs’ efforts to assert allegations of fraudulent concealment so as

   to toll the statute of limitations, notably absent is any allegation that “defendants prevented them

   from investigating the fraud in spite of the plaintiffs’ exercise of due diligence.” Butala v.

   Agashiwala, 916 F. Supp. 314, 320 (S.D.N.Y. 1996). There is nothing in this case that could

   have stopped plaintiffs from investigating the alleged fraud since the publicly filed deeds would

   have put the plaintiffs on notice that what they claim is the heart of the fraud – overstated

   purchase prices for the Schedule A Properties in the prospectuses – was easily discovered by any

   reasonable diligent investor. Rosenshein v. Meshel, 688 F. App'x 60, 64 (2d Cir. 2017)

   (“Rosenshein’s duty to investigate is unaltered by defendants’ alleged representations and

   assurances about the investments because the information already in Rosenshein’s possession

   during the relevant period—including numerous defaults, foreclosures, and delays in selling the

   underlying collateral properties—clearly contradicted such statements to a degree that made it

   unreasonable for Rosenshein to rely thereon.”).

          To the extent there were investments made by the Individual Plaintiffs after April 10,

   2013 or additional “storm warnings” that arose after that date, because the Plaintiffs were on

   inquiry notice with respect to the “massive scheme to defraud,”19 those later investments are not



          19
               TAC ¶ 1.



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   separate injuries. Town of Mamakating, 2015 WL 5311265, at *8 (“The injuries related to

   defendants’ alleged voter fraud are not new and independent. The Amended Complaint alleges

   that the voter fraud orchestrated by defendants was part and parcel of one common scheme to

   promote the completion of Chestnut Ridge without interference.”); Nat'l Grp. for Commc'ns &

   Computers Ltd. v. Lucent Techs. Inc., 420 F. Supp. 2d 253, 266 (S.D.N.Y. 2006) (holding that

   “this is a case where plaintiff discovered, or could have discovered, the full extent of related,

   future injuries at the outset of a single, unlawful scheme”). Indeed, at least one of the “lead

   plaintiffs” – Jacob Schonberg, Binyomin Schonberg, Binyomin Halpern, and Raphael Barouch

   Elkaim,20 and syndicating the investments,21 are allegedly indirectly invested in each of the

   Schedule A Properties. See TAC, Schedule A. As the lead investors and syndicators of other

   investments, they were certainly on inquiry notice of the “storm warnings” set forth in the deeds.

   They failed to undertake any reasonably diligent investigation as to the propriety of their prior

   investments and thus the statute of limitations does not renew for their later investments and the

   other Individual Plaintiffs whose investments they syndicated.

           For the foregoing reasons, the RICO claims are time barred and the Motion to Amend to

   add RICO claims must be denied.22




           20
                They are the “Original Plaintiffs” in the SAC. Brach Decl. Ex. 2, ¶ 2.

           21
              TAC ¶¶ 56-57 (Halpern and Schonberg were allegedly targeted because they “were well-respected and
   trusted members of their communities” who could “influence others in their communities to invest … as well.”).
           22
               Because the RICO claims are time barred, the conspiracy to violate RICO claim also fails. See First
   Capital Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159, 164 (2d Cir. 2004) (“And because Plaintiffs' RICO
   conspiracy claims are entirely dependent on their substantive RICO claims, we also concur in the District Court's
   dismissal of the RICO conspiracy claim.”). Additionally, the conspiracy claim fails for the separate reason that
   Plaintiffs have only summarily alleged the existence of an agreement between Strulovitch and Oberlander. FD
   Prop. Holding, Inc. v. U.S. Traffic Corp., 206 F. Supp. 2d 362, 373 (E.D.N.Y. 2002) (citations omitted); 4 K & D
   Corp. v. Concierge Auctions, LLC, 2 F. Supp. 3d 525, 544–45 (S.D.N.Y. 2014) (dismissing RICO conspiracy claim


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                    b. The RICO Claims Fail Because There Is Not An Enterprise

           The “Strulovitch-Oberlander Enterprise” is not an enterprise under the RICO act. RICO

   enterprise under Section 1961(4) includes “any individual, partnership, corporation, association,

   or other legal entity, and any union or group of individuals associated in fact although not a legal

   entity.” 18 U.S.C. § 1961(4). An association-in-fact enterprise is “a group of persons associated

   together for a common purpose of engaging in a course of conduct” which is “proved by

   evidence of ongoing organization, formal or informal, and by evidence that the various

   associates function as a continuing unit.” United States v. Turkette, 452 U.S. 576, 583 (1981).

   Where a complaint alleges an association-in-fact enterprise, courts in this Circuit look to the

   “hierarchy, organization, and activities” of the association to determine whether “its members

   functioned as a unit.” First Capital Asset Mgmt., 385 F.3d at 174–75 (citations and quotations

   omitted).

           An enterprise does not arise from “a series of similar but essentially separate frauds

   carried out by related entities.” City of N.Y. v. Chavez, 944 F. Supp. 2d 260, 275 (S.D.N.Y.

   2013), vacated on other grounds, 579 F. App’x 15 (2d Cir. 2014). “If each act of fraud is equally

   effective without the perpetration of any other act of fraud – even if perhaps effective to a far

   lesser or different magnitude – then there is no RICO enterprise.” Id.; see also Cedar Swamp

   Holdings, Inc. v. Zaman, 487 F. Supp. 2d 444, 451 (S.D.N.Y. 2007) (“[A] series of independent

   fraudulent transactions ... is insufficient to justify a conclusion that the perpetrator and the

   accomplices together constituted an ongoing organization or functioned as a continuing unit.”).

           The so-called “Strulovich-Oberlander enterprise, allegedly comprised of the Individual

   Defendants and the “Secret Defendants” (TAC ¶ 293), is not an enterprise because it is not a


   where plaintiffs alleged “no facts to show specifically that the defendants had any ‘meeting of the minds’” in the
   alleged violations”).


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   continuing unit with an ascertainable structure. For starters, the TAC does not define who the

   “Secret Defendants” are and fails for that reason alone. Assuming the Plaintiffs are referring to

   the “Defendants’ Affiliated Entities” and the “Secret LLC Defendants,” which each separately

   hold title to the Secret Properties in Schedule B of the TAC, and are allegedly “owned and

   controlled by the Individual Defendants,” the claims still fail. TAC ¶¶ 47-51.

          The alleged purpose of this so-called Enterprise was to “illegally obtain vast sums of

   money from the Plaintiffs through fraudulent misrepresentations. Thereafter, the fraudulently

   obtained money was diverted and deposited into the named accounts and entities constituting a

   part of the Enterprise that were controlled by and for the benefit of the Individual Defendants.”

   TAC ¶ 299. However, there are no non-conclusory allegations as to how each of the

   members of the “Strulovitch Oberlander Enterprise” worked together as a unit to achieve

   that purpose.     Each one of the alleged transactions constitutes, at most, a separate and

   independent fraud, which does not give rise to a RICO claim.

          Further, as explained by the Supreme Court, an alleged enterprise must be distinct from

   the racketeering activity:

                   The enterprise is an entity, for present purposes a group of persons
                   associated together for a common purpose of engaging in a course
                   of conduct. The pattern of racketeering activity is, on the other
                   hand, a series of criminal acts as defined by the statute. The former
                   is proved by evidence of an ongoing organization, formal or
                   informal, and by evidence that the various associates function as a
                   continuing unit. The latter is proved by evidence of the requisite
                   number of acts of racketeering committed by the participants in the
                   enterprise. While proof used to establish these separate elements
                   may in particular cases coalesce, proof of one does not necessarily
                   establish the other. The “enterprise” is not the “pattern of
                   racketeering activity”; it is an entity separate and apart from the
                   pattern of activity in which it engages. The existence of an
                   enterprise at all times remains a separate element which must be
                   proved by the Government.




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   Turkette, 452 U.S. at 583. Accordingly, “[i]n assessing whether an alleged enterprise has an

   ascertainable structure distinct from that inherent in a pattern of racketeering, it is appropriate to

   consider whether the enterprise would still exist were the predicate acts removed from the

   equation.”     Mackin v. Auberger, 59 F. Supp. 3d 528, 544 (W.D.N.Y. 2014); Black Radio

   Network, Inc. v. NYNEX Corp., 44 F. Supp. 2d 565, 580 (S.D.N.Y.1999) (“Plaintiffs have failed

   to adequately allege the existence of an enterprise for purposes of § 1962(c), for they have failed

   to allege an enterprise that is separate and distinct from the alleged pattern of racketeering

   activity.”). Missing from the TAC is any allegation as to how the “Strulovitch-Oberlander

   Enterprise would exist absent the alleged pattern of racketeering. At the end of the day, all that

   would remain are a series of single-purpose entities – whose purpose is to own a parcel of

   property – whose only common tie is that Individual Defendants are allegedly owners therein.23

           Accordingly, the RICO claim is futile as it does not plead the existence of a RICO

   Enterprise.

                    c. The predicate acts are not well-pled

           The predicate acts constituting the alleged racketeering activity are not well pled. Federal

   Rule of Civil Procedure 9(b) requires that fraud allegations be pleaded with particularity. A

   party alleging RICO predicate acts involving fraud must satisfy Rule 9(b)’s “heightened pleading

   requirements.” Knoll v. Schectman, 275 F. App'x 50, 51 (2d Cir. 2008). In the Second Circuit, a

   plaintiff alleging RICO predicate acts involving fraud must “state the contents of the

   communications, who was involved, where and when they took place, and explain why they

   were fraudulent.” Mills v. Polar Molecular Corp., 12 F.3d 1170, 1176 (2d Cir. 1993); see also

   Knoll, 275 F. App'x at 51. This showing “must be established as to each individual defendant.”


   23
     As it relates to the Defendants’ Affiliated Entities, CSRE is just an owner of the Holding Companies and there are
   no independent allegations concerning CS Construction LLC and Good Living Management LLC.


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   DeFalco v. Bernas, 244 F.3d 286, 306 (2d Cir. 2001).                    A RICO plaintiff must “indicate

   individually which of the . . . defendants actually engaged in the particular predicate acts of mail

   or wire fraud offenses that Plaintiffs allege constitutes a pattern of racketeering.” Gross v.

   Waywell, 628 F. Supp. 2d 475, 495 (S.D.N.Y. 2009) (Marrero, J.) (emphasis added). “Rule 9(b)

   is not satisfied where the complaint vaguely attributes the alleged fraudulent statements to

   defendants.” Mills, 12 F.3d at 1175 (internal quotations omitted).

           Rule 9(b)’s prohibition on “group pleading” serves a few purposes in the RICO context.

   First, it ensures reviewing courts are able to determine “whether substantively each predicate act

   alleged constitute[s] an offense within the meaning of the underlying wire/mail fraud statutes.”

   Gross, 628 F. Supp. 2d at 495. Second, it provides courts with enough information to determine

   “whether, as to each defendant, the number, duration and timing of such offenses would be

   sufficient to satisfy the continuity element of the RICO pattern of racketeering requirement, as

   well as the statute of limitations.” Id. Thus, “[t]he vice of group pleading in fraud cases is that

   no single defendant is sufficiently advised of which fraudulent act he is alleged to have

   committed, where, when, by what means and its specific form and content.” Merrill Lynch,

   Pierce, Fenner & Smith, Inc. v. Young, No. 91-CV-2923 CSH, 1994 WL 88129, at *20

   (S.D.N.Y. Mar. 15, 1994) (Haight, J.). Here, like the SAC, the TAC does not name Strulovitch

   individually as the person who transmitted the allegedly fraudulent Prospectuses. Rather, on

   each occasion it was the “Individual Defendants” who did so. TAC ¶¶ 77, 87, 93, 105, 111, 117,

   125, 133, 141, 153, 160, 171, 183, 191, 199, 205. Accordingly, all assertions of fraud against

   Strulovitch fail.24




   24
     Racketeering predicate act 25-31 is for bank fraud. The alleged victim in those cases was Signature Bank, First
   Niagara Bank, and Cathay Bank. TAC ¶ 316. Not one of these allegations implicates the Plaintiffs in any way.


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          Further, while the Plaintiffs seek the recovery of “$30,000,000” for the alleged RICO

   violations, Plaintiffs fail to allege how much each Individual Plaintiff invested and when they

   invested that money. That is critical because the only non-arbitrable RICO claims are those

   brought by the non-signatory Individual Plaintiffs. The Individual Plaintiffs comprise only 38 of

   the 180 Investors, and they do not allege how much they each individually or collectively

   invested. Under FRCP 9(b), a plaintiff must “set forth the who, what, when, where and how of

   the alleged fraud.” Garber v. Legg Mason, Inc., 537 F. Supp. 2d 597, 614 (S.D.N.Y. 2008),

   aff'd, 347 F. App'x 665 (2d Cir. 2009) (emphasis added); Butala, 916 F. Supp. at 322 (“Insofar as

   the Complaint does not identify the specific plaintiffs to whom enumerated communications

   were made, and fails to state times and places for those communications, or indeed, what was

   said, it is not pleaded with sufficient particularity. Also, the Complaint does not identify the

   particular misrepresentations made by the defendants to each of the plaintiffs. Accordingly,

   because the plaintiffs have failed to plead their RICO claims with particularity pursuant to Rule

   9(b), the Complaint is dismissed…”).

          Additionally, while the Individual Plaintiffs generally plead timeframes as to when their

   investments were made, they fail to plead exactly when each individual purchase was made.

   Such information is certainly within the knowledge of each Individual Plaintiff. Exactly when

   the Individual Plaintiffs invested their money is particularly important since “Plaintiffs may not

   maintain a … fraud claim unless they allege that they reasonably relied on a misrepresentation or

   omission.” Dresner v. Utility.com, Inc., 371 F. Supp. 2d 476, 491 (S.D.N.Y. 2005). The failure

   to plead “when” they actually relied on a misrepresentation by purchasing securities requires

   dismissal of fraud claims. See, e.g., In re Bear Stearns Cos., Inc. Sec., Derivative, & ERISA

   Litig., 995 F. Supp. 2d 291, 313 (S.D.N.Y. 2014), aff'd sub nom. SRM Glob. Master Fund Ltd.




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   P'ship v. Bear Stearns Cos., 829 F.3d 173 (2d Cir. 2016) (dismissing fraud claim on the grounds

   that reliance was not pled with particularity where “SRM does not allege that it actually

   purchased any particular Bear Stearns securities on any particular date in reliance on any

   particular alleged misstatements in the 2006 Form 10–K”); Grunwald v. Borenfreund, No. 85 CV

   3338, 1986 WL 176367, at *2 (E.D.N.Y. Nov. 26, 1986) (finding that complaint failed to comply

   with Rule 9(b) where “the complaint—despite its volume—fails to state that on a particular date

   plaintiff provided specific funds or property to specifically named defendants in reliance upon a

   particular and stated representation”). There is not a single allegation in the TAC of the details

   of any specific Individual Plaintiffs’ reliance on the alleged misrepresentations.

          Because the fraud-based claims are not pled with the requisite particularity, the RICO

   claims reliant thereon are futile and the Motion to Amend to add RICO claims must be denied.

   Thus, because there are no non-futile federal claims, the Court should continue to decline to

   exercise supplemental jurisdiction over any non-arbitrable state law claims.

                                             CONCLUSION

          For all of the reasons stated above, it is respectfully requested that the Court issue an

   Order denying the Motion to Amend, dismissing this action in its entirety, with prejudice, and

   granting such other and further relief as this Court deems appropriate. To the extent the Court

   grants any aspect of the Motion to Amend, it is respectfully requested that the Court allow

   Defendants to file a motion to dismiss.




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   Dated: New York, New York
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